Case 1:21-cv-03876-LMM Document 1-1 Filed 09/20/21 Page 1 of 46




                      EXHIBIT A
                                                                                           E-FILED IN OFFICE - EP
                        Case 1:21-cv-03876-LMM Document 1-1 Filed 09/20/21 Page 2 of 46  CLERK OF STATE COURT
                                                                                     GWINNETT COUNTY, GEORGIA
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                                                                                          TIANA P. GARNER, CLERK




                                                                                 21-C-05767-S4




                                          Wendy Ely, 1625 Bass Rd, Macon, GA 31210




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                        Case 1:21-cv-03876-LMM Document 1-1 Filed 09/20/21 Page 3 of 46   CLERK OF STATE COURT
                                                                                      GWINNETT COUNTY, GEORGIA
                                                                                                21-C-05767-S4
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                                                                                   21-C-05767-S4




                                          The TJX Companies, Inc., c/o C T Corporation System
                                          289 S Culver Street, Lawrenceville, GA, 30046-4805




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                                                                       Page 4 of 46

     SHERIFF'S ENTRY OP SERVICE                                                        <0\. Q^.Oja                          raocSoc?
                             21-C-05767-S4                                                          Superior Court □            Magistrate Court □
     Civil Action No.                                                                               State Court    X            Probate Court    □
                                                                                                    Juvenile Court □

     Date Filed
                       08/04/2021                                                                                 Gwinnett
                                                                                                    Georgia, _                         COUNTY
                                                                                                     Tracie Vander Ven and
     Attorney’s Address
                                                                                                     Derek Vander Ven
     Jacob A. Weldon, Esq.                                                                                                               Plaintiff
     Sexton Law Firm, LLC
     124 Atlanta Street______                                                                               VS.
     McDonough, GA 30253
                                                                                                     The TJX Companies, Inc. d/b/a
     Name and Address of Party to Served                                                             Marshalls and Home GoddS, and
     Wendy Ely                                                                                       Wendy Ely______
                                                                                                                                         Defendant
     1625 Bass Road                  f/ivn*</Uu'j-4-/fo/n£ tercohs)
     Macon, GA-31210
                                                                                                                                         Garnishee
                                                               SHERIFF’S ENTRY OF SERVICE

    PERSONAL
    I have this day served the defendant                     'eA               to K                                             personally with a copy
    of the within action and sununons.

    NOTORIOUS
    I have this day served the defendant_________________________________                                                                 by leaving a
    copy of the action and summons at his most notorious place abode in this County.

□   Delivered same into hands of.                                                                                 ___________ described as follows:
    age, about               years; weight                    pounds; height                  feet and            inches, domiciled at the residence of
    defendant.

    CORPORATION
    Served the defendant                                                                                                                 a corporation
□   by leaving a copy of the within action and summons with____________________
    In charge of the office and place of doing business of said Corporation in this County.

    TACK & MAIL
    I have this day served the above styled affidavit and summons on the defendants) by posting a copy of the same to the door of fee premises
    designated in said affidavit and on the same day of such posting by depositing a true copy of same in the United States Mail, First Class in an
□   envelope properly addressed to the defendants) at the address shown in said summons, with adequate postage affixed thereon containing notice
    to fee defendants) to answer said summons at the place stated in the summons.

    NON EST
    Diligent search made and defendant________
0   not to be found in the jurisdiction of this Court.


    This   57^day of               r *ac                 .20*31 .
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                                                                                                 Si u/
      Case 1:21-cv-03876-LMM Document 1-1 Filed 09/20/21 Page 5 of 46                         E-FiLED IN OFFICE - EP
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                                                                                        GWINNETT COUNTY, GEORGIA
                                                                                                  21-C-05767-S4
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                                                                                            TIANA P. GARNER, CLERK

                    IN THE STATE COURT OF GWINNETT COUNTY
                               STATE OF GEORGIA

TRACIE VANDER YEN and                              )
DEREK VANDER YEN                                   )
                                                   )       21-C-05767-S4
      Plaintiff,                                   )
                                                   ) CIVIL FILE ACTION
vs.                                                ) NO.:_____________
                                                   )
THE TJX COMPANIES, INC. d/b/a                      )
MARSHALLS and HOMEGOODS and                        )
WENDY ELY                                          )
                                                   ) JURY TRIAL DEMANDED
       Defendant.                                  )

                     COMPLAINT AND DEMAND FOR JURY TRIAL
       COMES NOW, Plaintiffs, Tracie Yander Yen and Derek Vander Yen, and bring this cause

of action against the Defendant as follows:

1.     Plaintiffs are residents of the State of Georgia.

2.     Defendant, The TJX Companies, Inc., d/b/a Marshall's and HomeGoods is a foreign for-

profit corporation that is registered to do business in this State. The Defendant has appointed C T

Corporation Company, 289 S. Culver St., Lawrenceville, Gwinnett County, Georgia 30046-4805,

as its registered agent for service of process and the Defendant can be served at that address.

3.     Defendant, The TJX Companies, Inc., hereinafter “TJX", is subject to the jurisdiction and

venue of this Court pursuant to OCGA § 14-2-510 (b) (3) and may be personally served by delivery

of Summons and Complaint to The C T Company at 289 S. Culver St., Lawrenceville, Gwinnett

County, Georgia 30046-4805.

4.     Defendant, Wendy Ely is an individual who is an employee of TJX. She may be served

personally by deliver of the summons and complaint at her place of business to wit: Marshalls &

HomeGoods, 1625 Bass Rd, Macon, GA 31210.
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5.      Defendants are subject to the jurisdiction and venue of this Honorable Court.

6.      Defendant TJX owns and operates a store located at 1625 Bass Rd, Macon, GA 31210.

7.      Defendant TJX is liable pursuant to the doctrine of respondeat superior for the acts and

omissions of its employees.

8.      Defendant Wendy Ely, manager of the subject store is and was at all times relevant hereto

responsible for inspection and maintenance of the store including keeping the premises and

approaches of dangerous conditions on its premises including the supervision of those under his

authority who were charged with doing same.

9.     On 25 January 2020, Plaintiff Tracie Vander Yen was a customer and invitee at the

Defendant's Marshalls & HomeGoods store at 1625 Bass Rd, Macon, GA 31210.

10.    She was shopping with her mother and husband, Plaintiff Derek Vander Yen, when she

suddenly slipped on a slippery substance in the checkout aisle and fell to the floor, injuring her left

hip, knee, ankle, and foot as well as her back.

11.    When Plaintiff, Derek Vander Yen helped his wife off of the floor, she had a creamy white

substance all over the back of her pants, shirt, and shoes.

12.    The location of Plaintiff s fall was in view of TJX employees before, during, and after her

fall as it was in the aisle along which the cashiers are situated at the front of the store between the

two entry and exit doors.

13.    At all relevant times, the Plaintiff exercised ordinary care for her own safety.

14.    At all relevant times, the Defendants owed a legal duty underO.C.G.A. § 51-3-1 of

ordinary care to invitees to inspect and keep the premises and approaches in a safe condition.

15.    At all relevant times, Defendants TJX and Wendy Ely negligently, carelessly, and

recklessly failed to inspect, maintain, or secure the area after learning of a dangerous condition.




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      Case 1:21-cv-03876-LMM Document 1-1 Filed 09/20/21 Page 7 of 46




and failed to warn Mrs. Vander Yen, who did not have knowledge of the hazardous condition that

caused her injuries.

16.    At all relevant times, Defendants TJX and Wendy Ely had actual or constructive

knowledge of the hazardous condition and could have prevented Mrs. Vander Yen's injuries, as

indicated by security video in the possession of the Defendant TJX.

17.    Defendants were grossly negligent in failing to supervise the area after learning of the

dangerous condition and leaving it unmarked with no warning to invitees.

18.    As a direct and proximate result of the Defendants' grossly negligent, careless, and reckless

acts and omissions, Mrs. Yander Yen sustained serious and painful injuries, including but not

limited to injuries to her left hip, knee, ankle, foot, and low back, all of which have required

medical treatment in an effort to alleviate her painful symptoms.

19.    Defendant's gross recklessness and total disregard for its customers' safety and well-being.

including Mrs. Vander Yen, in failing to secure the area where the substance was spilt justifies an

award of punitive damages to be determined by the enlightened conscience of the jury.

20.    As a result of the Defendants' negligence and reckless conduct, the Plaintiff has incurred

past medical expenses in excess of $32,238.61. Additionally, due to the injuries she sustained from

the fall caused by the Defendants' negligence, the Plaintiffs incurred lost wages in an amount to

be determined by the enlightened conscience of the jury.

21.    Plaintiff, Derek Vander Yen is the spouse of Tracie Vander Yen. As a result of the

Defendants' conduct. Mrs. Vander Yen was, for a time, unable to provide her spouse with the

same love, affection, companionship, comfort, support, or relationship that was provided before

her fall. There are still certain activities which Mrs. Vender Yen struggles to perform or requires




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additional assistance to accomplish due to the decreased mobility she suffers as a result of this

incident.

        WHEREFORE, the Plaintiffs, Tracie and Derek Vander Ven, pray for judgment against

the Defendants as follows:

        (a)    That the Complaint for Damages be issued and served upon the Defendants;

        (b)    That the Defendants appear and answer the Complaint for Damages;

        (c)    That a Judgment be entered in favor of the Plaintiffs and against the Defendants for

               her injuries, physical and emotional pain and suffering, impairment, lost wages, and

               loss of consortium in an amount to be determined by an enlightened conscience of

               an impartial jury;

        (d)    That the Plaintiffs be awarded payment of past, present and future medical

               expenses;

        (e)    That punitive damages be awarded against the Defendants for their gross and

               reckless negligent acts or omissions in this case;

        (0     That there be a trial by jury; and

        (g)    That this Court enters such other and further relief as it may deem just and proper.

     Respectfully Submitted, this 4th day of August 2021.

                                                      Ls/Jacob A. Weldon
SEXTON LAW FIRM, LLC.                                 JACOB A. WELDON, Bar No. 966930
 124 Atlanta Street                                   /s/ Jonathan P, Sexton
McDonough, GA 30253                                   JONATHAN P. SEXTON, Bar No. 636486
(770) 474-9335
jacob@sextonlawfirm.com
jsexton@sextonlawfirm.com




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                                                                                                              CLERK OF STATE COURT
                                                                                                          GWINNETT COUNTY, GEORGIA
                        General Civil and Domestic Relations Case Filing Information Form                              21-C-05767-S4
                                                                                                                   8/4/2021 11:29 AM
                                                                                                              TIANA P. GARNER, CLERK
                           □ Superior or S State Court of Gwinnett                           County

         For Clerk Use Only
                                                                               21-C-05767-S4
        Date Filed                                           Case Number
                         MM-DD-YYYY

Plaintiff(s)                                                  Defendant(s)
Vender Ven     Trade           J                              THE TJX COMPANIES, INC d/b/a MARSHALLS HOMEGOODS
Last            First          Middle I.   Suffix   Prefix     Last             First         Middle!.    Suffix     Prefix
Vander Ven     Derek           P                               ELY              WENDY
Last           First           Middle I.   Suffix   Prefix     Last             First         Middle I.   Suffix     Prefix

Last           First           Middle I.   Suffix   Prefix     Last             First         Middle I.   Suffix     Prefix

Last           First           Middle I.   Suffix   Prefix     Last             First         Middle!.    Suffix     Prefix

Plaintiff's Attorney Jacob A. Weldon                            Bar Number 966930                  Self-Represented □

                                             Check One Case Type in One Box

        General Civil Cases                                           Domestic Relations Cases
        □       Automobile Tort                                       □       Adoption
        □       Civil Appeal                                          □       Dissolution/Divorce/Separate
        □       Contract                                                      Maintenance
        □       Garnishment                                           □       Family Violence Petition
        □       General Tort                                          □       Paternity/Legitimation
        D       Habeas Corpus                                         D       Support-IV-D
        □       Injunction/Mandamus/Other Writ                        □       Support - Private (non-IV-D)
        □       Landlord/Tenant                                       □       Other Domestic Relations
        □       Medical Malpractice Tort
        □       Product Uability Tort                                 Post-Judgment - Check One Case Type
        □       Real Property
                                                                      □       Contempt
        □       Restraining Petition
                                                                          □    Non-payment of child support,
        S       Other General Civil
                                                                               medical support, or alimony
                                                                      □       Modification
                                                                      □       Other/Administrative

□       Check if the action is related to another action(s) pending or previously pending in this court involving some or all
        of the same parties, subject matter, or factual issues. If so, provide a case number for each.


                 Case Number                                 Case Number

a       I hereby certify that the documents in this filing, including attachments and exhibits, satisfy the requirements for
        redaction of personal or confidential information in O.C.G.A. § 9-11-7.1.

□       Is an interpreter needed in this case? If so, provide the language(s) required._______________________
                                                                                           Language(s) Required

□       Do you or your client need any disability accommodations? If so, please describe the accommodation request.



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                                                                                            GWINNETT COUNTY, GEORGIA
                                                                                                      21-C-05767-S4
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                                                                                                TIANA P. GARNER, CLERK

                     IN THE STATE COURT OF GWINNETT COUNTY
                                STATE OF GEORGIA
TRACK VANDER YEN and                                 )
DEREK VANDER YEN                                     )
                                                     )    21-C-05767-S4
       Plaintiff,                                    )
                                                     ) CIVIL FILE ACTION
vs.                                                  ) NO.:_____________
                                                     )
THE TJX COMPANIES, INC. d/b/a                        )
MARSHALLS and HOMEGOODS and                          )
WENDY ELY                                            )
                                                     )
        Defendant.                                   )

                 PLAINTIFFS' FIRST CONTINUING INTERROGATORIES
                AND REQUESTS FOR PRODUCTION OF DOCUMENTS TO
                              DEFENDANT WENDY ELY

        COME NOW Plaintiffs in the above-styled case and, pursuant to O.C.G.A. §§ 9-11-33 and

9-11-34, and other applicable portions of the Civil Practice Act, require the defendant to answer

under oath the following interrogatories within the time provided by law and to furnish a copy of

said answers to plaintiffs' attorney at SEXTON LAW FIRM, LLC., 124 Atlanta Street,

McDonough, GA 30253.

        NOTE A: When used in these interrogatories, the term "defendant(s)," or any synonym

thereof, is intended to and shall embrace and include, in addition to said defendant(s), counsel for

defendant(s) and all agents, servants, employees, representatives, private investigators, and others

who are in possession of or may have obtained information for or on behalf of the defendant(s) to

whom the interrogatories are directed.

       NOTE B: These interrogatories shall be deemed continuing, and supplemental answers

shall be required if the defendant(s), directly or indirectly, obtains further information of the nature

sought after answers are initially served.
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        NOTE C: Reference to the term "identify" or "identity" means:

        (a) When in these interrogatories you are requested to "identify" or to state the "identity"

of a person or persons, such request, in each instance, shall be understood to seek the following

information with respect to each such person or persons: Name, last known address, home

telephone number, business telephone number, place of employment, job title or capacity, and

present whereabouts;

       (b) When in these interrogatories you are requested to "identify" or to state the "identity"

of a corporation, such request, in each instance, shall be understood to seek the following

information with respect to each such corporation: the full and correct registered name, state of

incorporation, principal place of business, and dates of existence;

       (c) When in these interrogatories you are requested to "identify" or to state the "identity"

of a partnership or other business entity, such request, in each instance, shall be understood to seek

the following information with respect to each such partnership or business entity: the name of the

partnership or entity, the principal place of business and the dates of operation; and

       (d) When in these interrogatories you are requested to "identify" or to state the "identity"

of a document, such request, in each instance, shall be understood to seek the following

information with respect to each such document: a description of the document, including the

nature and content thereof, the date thereof, the name and address of the author(s) and recipient(s)

thereof, and the person or entity having present custody thereof. Whenever it is requested that a

person or persons be identified, the full name, current address and past and present relationship(s)

with the answering defendant should be stated.         When a "document" is referred to in these

interrogatories it means all written or printed matter of any kind, including but not limited to legal

documents, letters, memoranda, business records, interoffice communications, and data stored
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electronically, which are in the possession or control of the answering party.

       (e) If a claim of privilege is asserted concerning any information sought, identify as to

each privileged communication:

       (i) its date, (ii) its author(s) and the business title or position of its author(s), (iii) its

recipient(s) and the business title or position of its recipient(s), (iv) the number of pages if in

writing, (v) the subject matter of the communication, and (vi) the basis of the claimed privilege.

       NOTE D: In answering each interrogatory: (i) State whether the answer is within the

personal knowledge of the person answering the interrogatory and, if not, the identity of each

person known to have personal knowledge of the answer, and (ii) Identify each document that was

used in any way to formulate the answer.

       NOTE E: The term "occurrence" specifically refers to an incident which occurred on 25

January 2020 in which Plaintiff Tracie Vander Yen was injured on Defendant's premises located

at 1625 Bass Rd, Macon, GA 31210 and which incident is the basis of the complaint in the above

styled action.

        NOTE F:         When used in these interrogatories, a "communication" means ail oral

conversations, discussions, letters, telegrams, memoranda, and any other transmission of

information in any form, both oral and written.

                                     INTERROGATORIES

1.      Please identify the address for every location you have resided over the past 2 years and

the dates which you resided at those locations.

2.      Please state the reason for your transfer or move from each of your previous residences

for the past 2 years.




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3.      Please state what, if any, disciplinary actions were take by you or any Marshalls /

HomeGoods personnel related to the incident alleged in the complaint.

4.      Please state what, if any, disciplinary actions were taken against you or any Marshalls /

HomeGoods personnel related to the incident alleged in the complaint.

5.      With regard to each request for admission served upon you by the Plaintiffs which you do

not fully admit, without reservation or qualification, please state for each such request:

               a. Every fact which you contend supports your denial, partial denial, or qualified

                  admission;

               b. The identity of every person or entity who you contend has knowledge of the facts

                  upon which the denial, partial denial or qualified admission is based, giving a

                  summary of the information he, she or it has; and.

               c. The identity of every document or tangible item which you contend supports or

                  pertains to your denial, partial denial, or qualified admission.

6.      Please identify all persons, including any party, who was an eyewitness, or claims to be an

eyewitness, to the incident in this case. For each person identified, please include the lull name,

present or last known residence address, present or last known employment or business address

(including the name of the business and the position held), and the present or last known business

and residence telephone numbers.

7.     With respect to each person identified in response to Interrogatory # 6 above, please

provide to the best of your knowledge, information and/or belief a summary of the facts known to

that person.




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8.      Please identify any and all other similar incidents and allegations for which a visitor or

employee has made a claim against you or Marshalls / HomeGoods related to injuries suffered at

the subject property, occurring in the four (4) years prior to Plaintiff’s fall.

9.      Please identify any and all other similar incidents and allegations for which you or another

manager of the subject store have prepared an incident report concerning a visitor or employee

who has been injured at the subject property, occurring in the last four (4) years.

10.     Please state with particularity each and every other similar incident which occurred at the

subject location prior to Plaintiff s fall, while you were the General Manager or otherwise

employed by Marshalls / HomeGoods.

11.     Please state with particularity, any other similar incidents which you are familiar with that

have occurred at other Marshalls / HomeGoods facilities.

12.     Please state with particularity any procedures or precautions, if any, that were in place to

prevent slip and falls from occurring on the premises and who, if anyone, was responsible for

mandating and implementing these measures.

13.     Please state with particularity any procedures or precautions, if any, that were in place to

prevent invitees or others from creating hazardous conditions at the time of the incident alleged in

the complaint and who, if anyone, was responsible for mandating and implementing these

measures.

14.     Please state what, if any, policies or procedures were in place at the time that, if they had

been observed or followed, would have prevented the Plaintiffs injuries.

15.     To your knowledge, information or belief, are there any photographs, videos, depictions.

or drawings of the Marshalls / HomeGoods Store located at 1625 Bass Rd, Macon, GA 31210, the

scene of the incident, or the Plaintiff s injuries? If so, describe each such photograph, video or




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drawing giving the form (whether photographic print, transparency, diagram, plat, etc.), the

approximate date made, the subject, the name of the person making the photograph or diagram and

the present location and name of the person having custody and control thereof.

16.     Please identify how many Marshalls / HomeGoods security cameras captured the

Plaintiff s fall on 25 January 2020 and which of them were preserved and the reason for their

preservation.

17.     If any videos were not preserved, please state with particularity the reason why any videos

which may have recorded the incident were not preserved.

18.     Please list the name(s) of all persons who examined security and/or surveillance videos

after the incident alleged in the Plaintiffs Complaint to investigate the Plaintiffs claims and the

date(s) and time(s) of each examination.

19.     Please identify each and every person, whether an agent, servant, employee, private

investigator, claims adjuster, or other representative, who participated in any way in any

investigation conducted by you or on your behalf regarding the claims set forth in Plaintiff s

Complaint. For each person identified, please include their full name, present or last known

residence address, present or last known employment or business address (including the name of

the business and the position held), and the present or last known business and residence telephone

numbers.

20.     Please identify each individual who cleaned and/or maintained, or was responsible for

cleaning and/or maintaining, the area where the incident alleged in the Plaintiffs Complaint occurred

and whether these person(s) employees or agents of Defendant Marshalls / HomeGoods? If not.

please identify what entity employed them at the time of the Plaintiffs fall.




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      Case 1:21-cv-03876-LMM Document 1-1 Filed 09/20/21 Page 16 of 46




21.     Please identify who was responsible for ensuring that the premises were clean and free of

hazardous conditions at the location where Plaintiffs fall occurred.

22.     Please identify each and eveiy document that you withhold under claim of privilege,

confidentiality, relevance, or for any other objection or reason, and identify the basis for

withholding each such document.

23.     Identify the person or persons responding to this discovery, plus all individuals who have

provided assistance in responding to the Plaintiff s First Continuing Interrogatories and Requests

for Production of Documents.

                     REQUEST FOR PRODUCTION OF DOCUMENTS

1.      Please produce each and every document consulted, referred to and/or identified by you or

others on your behalf in answering any of the Plaintiffs Requests for Admission and

Interrogatories.

2.      All correspondence sent to and/or received from the Plaintiff.

3.      Each and every document, tangible object, or other item of real, demonstrative or

documentary evidence which provides any and all factual support for each defense asserted by you

in your Answer to Plaintiffs Complaint.

4.      Please produce each and every photograph, diagram, sketch, transparency, and/or drawing

of any person, party, vehicle, scene, or any other object or thing which relates to the incident that

is the subject of the Complaint in this action.

5.      Please produce any and all documents in your possession or control which related to

Interrogatories # 3 and 4 - pertaining to disciplinary actions taken.

6.      Please produce documentation to prove your residence at all times from 24 January 2020

to the present.




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7.      Please produce each and every document comprising a report made by any person, firm.

association or other entity (including insurance adjusters and management) that was produced as

a result of Plaintiff s fall on 25 January 2020.

8.      All documents that discuss, review, explain, outline, and/or define the procedure(s) for

reporting, taking and/or filing incident reports, effective after the date of the subject incident.

       This 4th day of August 2021.



                                                     /s/Jacob A. Weldon
 SEXTON LAW FIRM, LLC                                Jonathan P. Sexton, Bar No. 636486
 124 Atlanta Street                                  Jacob A. Weldon, Bar No. 966930
McDonough, GA 30253                                  Attorneys for Plaintiffs
770-474-9335 / 866-529-0828 fax
jsexton@sextonlawfirm.com
jacob@sextonIawfirm.com




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                                                                                             CLERK OF STATE COURT
                                                                                         GWINNETT COUNTY, GEORGIA
                                                                                                   21-C-05767-S4
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                                                                                              TIANA P. GARNER, CLERK

                     IN THE STATE COURT OF GWINNETT COUNTY
                                STATE OF GEORGIA

TRACIE VANDER YEN and                              )
DEREK VANDER YEN                                   )
                                                   )       21-C-05767-S4
      Plaintiff,                                   )
                                                   ) CIVIL FILE ACTION
vs.                                                ) NO.:_____________
                                                   )
THE TJX COMPANIES, INC. d/b/a                      )
MARSHALLS and HOMEGOODS and                        )
WENDY ELY                                          )
                                                   )
       Defendant.                                  )

                   PLAINTIFFS1 FIRST REQUESTS FOR ADMISSIONS TO
                               DEFENDANT WENDY ELY

       COME NOW Plaintiffs, Tracie Vander Yen and Derek Yander Yen (hereinafter referred

to as “Plaintiffs) and hereby requests that Defendant Wendy Ely (hereinafter “Defendant”) admit

for the purpose of this action the truth of the following facts within the time prescribed by law

following the date of service hereto and in conformity with O.C.G.A. § 9-11-36.

                                        INSTRUCTIONS

       [1]     If any request cannot be truthfully admitted or denied, please state in detail the

reasons why you cannot truthfully admit or deny the matter.

       [2]     If you cannot admit or deny the request in its entirety, please specify that part

which you cannot admit or deny and state in detail the reasons for any such qualifications.

       [3]     You may not give lack of information or knowledge as a reason for failure to

admit or deny Requests to Admit, unless you state that you have made a reasonable inquiry and

that the information known or readily obtainable is insufficient to enable you to answer.

       [4]     The Plaintiff further advises you that if you fail to admit the truth of any matter as

requested in the Requests for Admissions, and if the Plaintiff thereafter proves the truth of the
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matter, the Plaintiff will apply to the Court for an Order requiring you to pay the reasonable

expenses incurred in making that proof, including reasonable attorney's fees.

                                  REQUESTS FOR ADMISSION

1.      Please admit that on the date of the incident alleged in the Plaintiff s Complaint (25

January 2020), you were the general manager of the Marshalls / HomeGoods Store located at

1625 Bass Rd, Macon, GA 31210.

2.      Please admit that the Plaintiff, Tracie Vander Yen, was injured within the Marshalls /

HomeGoods store located at 1625 Bass Rd, Macon, GA 31210 on 25 January 2020.

3.      Please admit that at the time of the Plaintiffs fall on the date of the incident alleged in the

Complaint, the Plaintiff was an invitee of the Marshalls / HomeGoods store.

4.      Please admit that the Plaintiff was injured due to a hazardous condition that existed on

the subject premises at the time of the incident alleged in Plaintiff s Complaint.

5.      Please admit that a hazardous condition existed on the subject premises in the area of the

Plaintiff s incident on the date of the incident alleged in the Plaintiffs Complaint.

6.      Please admit that you, as general manager, by and through those under your supervision

at the subject property, were under a duty to mitigate potential injuries that could occur as a

result of the condition that existed at the time of the Plaintiffs fall.

7.      Please admit that you, by and through those under your supervision at the subject

location, had actual knowledge of the hazardous condition that caused the Plaintiff to fall.

8.      Please admit that you, by and through those under your supervision at the subject

location, had constructive knowledge of the hazardous condition that caused the Plaintiff to fall.

9.      Please admit that on the date of the incident alleged in the Complaint, the area where the

Plaintiff fell was included within a designated area for inspection by employees of the store.




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10.     Please admit that on the date of the incident alleged in the Complaint, those under your

supervision had actual knowledge of the potential for the hazardous condition that existed in the

area where the Plaintiff was injured at the subject property prior to the incident.

11.     Please admit that on the date of the incident alleged in the Complaint, Marshalls /

HomeGoods employees under your supervision had constructive knowledge of the potential for

such hazardous conditions existed in the area where the Plaintiff was injured at the subject

property.

12.     Please admit that there were no signs or warnings posted in the area where the Plaintiff

slipped, fell, and was injured.

13.     Please admit that Plaintiff had no knowledge of the hazardous condition that caused the

Plaintiff to slip and fall.

14.     Please admit that at least one Marshalls / HomeGoods employee observed the Plaintiff

after the incident alleged in the Plaintiff s Complaint.

15.     Please admit that at least one Marshalls / HomeGoods employee was on the same aisle

where the Plaintiff slipped and fell over 20 minutes prior to the incident alleged in the Plaintiff s

Complaint.

16.     Please admit that Marshalls / HomeGoods employees had direct observation of the area

before, during, and after Plaintiff s fall.

17.     Please admit that, immediately following the fall, the Plaintiff complained of having been

injured as a result of the slip and fall on the premises.

18.     Please admit that the Plaintiff was injured as a result of slipping and falling at the subject

premises.




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19.      Please admit that, on the date of the incident alleged in the Complaint, Marshalls /

HomeGoods had written policies, procedures and/or guidelines for inspecting and maintaining

the subject property.

20.     Please admit that Marshalls / HomeGoods employees did not follow proper protocol.

pursuant to Marshalls / HomeGoods policies, in marking and cleaning the spill prior to the

Plaintiff s fall.

21.     Please admit that you received an anti-spoliation letter regarding this incident on 4

February 2020.

22.     Please admit that as general manager, you had a duty, personally or through those you

supervised, to inspect the premises for dangerous conditions.

23.     Please admit that nothing was done to correct the dangerous condition during the 15

minutes or more that the condition existed prior to Plaintiff s slip and fall.

        This 4th day of August 2021.

                                                    Respectfully submitted.


SEXTON LAW FIRM, LLC                                /s/Jacob A. Weldon
 124 Atlanta Street                                 Jonathan P. Sexton, Bar No. 636486
McDonough, GA 30253                                 Jacob A. Weldon, Bar No. 966930
770-474-9335 / 866-529-0828 fax                     Attorneys for Plaintiffs
jsexton@sextonlawfirm.com
jacob@sextonlawfirm.com




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                                                                                             CLERK OF STATE COURT
                                                                                         GWINNETT COUNTY, GEORGIA
                                                                                                   21-C-05767-S4
                                                                                               8/4/2021 11:29 AM
                                                                                            TIANA P. GARNER, CLERK

                     IN THE STATE COURT OF GWINNETT COUNTY
                                STATE OF GEORGIA

TRACIE VANDER YEN and                               )
DEREK VANDER YEN                                    )
                                                    )   21-C-05767-S4
       Plaintiff,                                   )
                                                    ) CIVIL FILE ACTION
vs.                                                 ) NO.:_____________
                                                    )
THE TJX COMPANIES, INC. d/b/a                       )
MARSHALLS and HOMEGOODS and                         )
WENDY ELY                                           )
                                                    )
        Defendant.                                  )

            PLAINTIFF’S FIRST CONTINUING INTERROGATORIES
      AND REQUESTS FOR PRODUCTION OF DOCUMENTS TO DEFENDANT
                        THE TJX COMPANIES. INC.

       COME NOW Plaintiff in the above-styled case and, pursuant to O.C.G.A. §§ 9-11-33 and

9-11-34, and other applicable portions of the Civil Practice Act, require the defendant to answer

under oath the following interrogatories within the time provided by law and to furnish a copy of

said answers to plaintiffs* attorney at SEXTON LAW FIRM, LLC., 124 Atlanta Street,

McDonough, GA 30253.

       NOTE A:         When used in these interrogatories, the term "defendant(s),H or any

synonym thereof, is intended to and shall embrace and include, in addition to said defendant(s).

counsel for defendant(s) and all agents, servants, employees, representatives, private

investigators, and others who are in possession of or may have obtained information for or on

behalf of the defendant(s) to whom the interrogatories are directed.

       NOTE B:         These interrogatories shall be deemed continuing, and supplemental

answers shall be required if the defendant(s), directly or indirectly, obtains further information of

the nature sought after answers are initially served.
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       NOTE C:         Reference to the term "identify" or "identity" means:

       (a) When in these interrogatories you are requested to "identify" or to state the "identity"

of a person or persons, such request, in each instance, shall be understood to seek the following

information with respect to each such person or persons: Name, last known address, home

telephone number, business telephone number, place of employment, job title or capacity, and

present whereabouts;

       (b) When in these interrogatories you are requested to "identify" or to state the "identity"

of a corporation, such request, in each instance, shall be understood to seek the following

information with respect to each such corporation: the full and correct registered name, state of

incorporation, principal place of business, and dates of existence;

       (c) When in these interrogatories you are requested to "identify" or to state the "identity"

of a partnership or other business entity, such request, in each instance, shall be understood to

seek the following information with respect to each such partnership or business entity: the name

of the partnership or entity, the principal place of business and the dates of operation; and

       (d) When in these interrogatories you are requested to "identify" or to state the "identity"

of a document, such request, in each instance, shall be understood to seek the following

information with respect to each such document: a description of the document, including the

nature and content thereof, the date thereof, the name and address of the author(s) and

recipient(s) thereof, and the person or entity having present custody thereof. Whenever it is

requested that a person or persons be identified, the full name, current address and past and

present relationship(s) with the answering defendant should be stated.       When a "document" is

referred to in these interrogatories it means all written or printed matter of any kind, including

but not limited to legal documents, letters, memoranda, business records, interoffice
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communications, and data stored electronically, which are in the possession or control of the

answering party.

       (e) If a claim of privilege is asserted concerning any information sought, identify as to

each privileged communication:

       (i) its date, (ii) its author(s) and the business title or position of its author(s), (iii) its

recipient(s) and the business title or position of its recipient(s), (iv) the number of pages if in

writing, (v) the subject matter of the communication, and (vi) the basis of the claimed privilege.

       NOTE D: In answering each interrogatory: (i) State whether the answer is within the

personal knowledge of the person answering the interrogatory and, if not, the identity of each

person known to have personal knowledge of the answer, and (ii) Identify each document that

was used in any way to formulate the answer.

       NOTE E:The term "occurrence" specifically refers to an incident which occurred on 25

January 2020 in which Plaintiff Tracie Vander Yen was injured on Defendant’s premises located

at 1625 Bass Rd, Macon, GA 31210 and which incident is the basis of the complaint in the above

styled action.

       NOTE F:        When used in these interrogatories, a "communication" means all oral

conversations, discussions, letters, telegrams, memoranda, and any other transmission of

information in any form, both oral and written.




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                                      INTERROGATORIES

1.      With regard to each request for admission served upon you by the Plaintiffs which you do

     not fully admit, without reservation or qualification, please state for each such request:

        a. Every fact which you contend supports your denial, partial denial, or qualified

            admission;

        b. The identity of every person or entity who you contend has knowledge of the facts

            upon which the denial, partial denial or qualified admission is based, giving a

            summaiy of the information he, she or it has; and.

        c. The identity of every document or tangible item which you contend supports or

            pertains to your denial, partial denial, or qualified admission.

2. Please identify each and every document that you withhold under claim of privilege.

     confidentiality, relevance, or for any other objection or reason, and identify the basis for

     withholding each such document.

3.      Please identify the full and correct legal names of the owner and also the operator of the

     Marshalls & HomeGoods located at 1625 Bass Rd, Macon, GA 31210, including names and

     addresses, on the date of the subject incident and as of today. If these are two different

     persons or entities, please clarify which one was the owner and which one was the operator.

4. Please provide the full name, date of birth, last known address, phone number, and

     employment status of the general manager of the Marshalls & HomeGoods located at 1625

     Bass Rd, Macon, GA 31210 on January 25,2020.

5. Identify the person or persons responding to this discovery, plus all individuals who have

     provided assistance in responding to the Plaintiffs First Continuing Interrogatories and

     Requests for Production of Documents.




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6. If you contend that the Plaintiffs have brought this action against the wrong entity due to a

   misnomer or for any other reason, please state the complete name of the correct defendant for

   this action and why this is the wrong entity, and further state whether you will accept service

   of an amended Summons and Complaint reflecting the information furnished by you in

   response to this Interrogatory.

7. With particularity sufficient to satisfy O.C.G.A. § 9-11-26(b)(2), please identify any policy

   or policies of liability insurance which would or might inure to the benefit of the Plaintiff by

   providing payment of a part of, or all of any judgment rendered in favor of the Plaintiff

   against the Defendant or against any other person, firm or corporation which is or may be

    iable to Plaintiff by reason of the incident described in the Plaintiffs Complaint.

8. Please identify all persons, including any party, whom you believe does have, or may have.

   any information of any kind about the incident in this case or any information pertaining to

   any issue of liability or damages in this case. For each person identified, please include the

   full name, present or last known residence address, present or last known employment or

   business address (including the name of the business and the position held), and the present

   or last known business and residence telephone numbers.

9. Please identify all persons, including any party, who was an eyewitness, or claims to be an

   eyewimess, to the incident in this case. For each person identified, please include the full

   name, present or last known residence address, present or last known employment or

   business address (including the name of the business and the position held), and the present

   or last known business and residence telephone numbers.




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10. With respect to each person identified in response to Interrogatories 9 and 10 above, please

   provide to the best of your knowledge, information and/or belief a summary of the facts

   known to that person.

11. Please identify all persons who have furnished statements, whether recorded or written.

   signed or unsigned, to you, your representative, your insurance company, or attorney that in

   any way relate to the subject incident. For each person identified, please describe each

   statement given, including the date it was given, the name of the person(s) present when

   made, the form (whether oral, written, recorded, etc.), the subject of the statement, the

   present location of the statement, and the person having custody and control thereof.

12. State each and every fact upon which you reply for each affirmative defense in your Answer

   to the Plaintiff s Complaint.

13. To your knowledge, information or belief, are there any photographs, videos, depictions, or

   drawings of the Marshalls & HomeGoods located at 1625 Bass Rd, Macon, Georgia 31210,

   the scene of the incident, or the Plaintiffs injuries? If so, describe each such photograph.

   video or drawing giving the form (whether photographic print, transparency, diagram, plat.

   etc.), the approximate date made, the subject, the name of the person making the photograph

   or diagram and the present location and name of the person having custody and control

   thereof.

14. Identify by location, camera number, or other specific means, all security and/or surveillance

   cameras that captured any image of Plaintiff at any time during January 25, 2020, including.

   but not limited to, the area in which the incident alleged in the Plaintiffs Complaint

   occurred.




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15.      Identify by location, camera number, or other specific means, all security and/or

      surveillance cameras that captured any image of the area where the subject incident occurred

      on 25 January 2020.

16.      Please state the number of persons assigned to monitor the store cameras and who was

      responsible for monitoring the cameras viewing the location of Plaintiff s fall on 25 January

      2020.

17.      Please list the name(s) of all persons who examined security and/or surveillance videos

      after the incident alleged in the Plaintiffs Complaint to investigate the Plaintiffs claims and

      the date(s) and time(s) of each examination.

18.      Please identify each and every person, whether an agent, servant, employee, private

      investigator, claims adjuster, or other representative, who participated in any way in any

      investigation conducted by you or on your behalf regarding the claims set forth in Plaintiff s

      Complaint. For each person identified, please include their full name, present or last known

      residence address, present or last known employment or business address (including the

      name of the business and the position held), and the present or last known business and

      residence telephone numbers.

19.      Please state the name, address and telephone number of each and every expert who you

      expect to call as a witness at the trial of the case and with regard to such witness, state the

      subject matter on which the expert is expected to testify, the substance of the facts and

      opinions to which said expert is expected to testify and a summary of the grounds for each

      opinion.

20.      Please identify all persons employed by you who:

              a. Were working at the Marshalls & HomeGoods located at 1625 Bass Rd, Macon,


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                  Georgia 31210, on 25 January 2020;

             b. Were responsible for inspecting, cleaning, and/or maintaining the area of the store

                  where the incident alleged in the Plaintiff s Complaint occurred;

              c. Were responsible in the year prior to 25 January 2020, for inspecting and/or

                  maintaining the area of the store where the incident alleged in the Plaintiffs

                  Complaint occurred; and

             d. Served as a Store Manager of the subject property on 25 January 2020.

      For each person identified, please include the full name, present or last known residence

      address, present or last known employment or business address (including the name of the

      business and the position held), and the present or last known business and residence telephone

      numbers.

21.       Please identify each individual who cleaned and/or maintained, or was responsible for

      cleaning and/or maintaining, the area where the incident alleged in the Plaintiffs Complaint

      occurred. Were these person(s) employees or agents of Defendant Marshalls and HomeGoods?

      If not, please identify what entity employed them at the time of the Plaintiffs fall.

22. Identify each and every document, tangible object or other item of real, documentary or

      demonstrative evidence in your possession which relates to the subject incident and identify

      the person presently having possession, custody or control of each item listed.

23. Identify each and every document, tangible object or other item of real, documentary or

      demonstrative evidence in your possession which you allege supports your defenses and/or

      contentions in this case, and identify the person presently having possession, custody or

      control of each item listed.




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24. Identify all oral or written communications (excluding privileged communications) between

   you and any person, including, but not limited to, the Plaintiff, which communications in any

   way reflect, refer, or relate to the subject incident.

25. If you contend that any party to this case, its agents or representatives, have made any

   admission(s) against interest with respect to the allegations contained in Plaintiffs

   Complaint, state with specificity and particularity all such admissions against interest.

   identify the maker of each such admission, identify the substance of each such admission.

   identify the date each such admission was made, and identify all persons who witnessed or

   who possess information regarding each such admission.

26. Do you contend that the injuries complained of in this case were caused by the negligence of

   any party other than Defendant TJX aka Marshalls and HomeGoods? If your answer is yes,

   please identify:

           a. The party whom you contend was guilty of such negligence;

           b. Every act of negligence which you claim was committed by such party or his

               agents and servants and which you contend proximately caused or contributed to

               the injuries complained of in this case;

           c. Each and every fact and reason upon which you base your contentions; and

           d. Each person who has any knowledge or information concerning each such fact.

27. Please identify each and every visitor or employee known to the Defendant who has been

   injured at the subject property at any time in the last four (4) years. For each person so

   identified, please state the following:

28. The exact location at the subject property where the individual was injured;

           a. The cause of the injuries;




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          b. Whether any incident report was prepared;

          c.   The information contained in such incident report;

          d. The name, address, home telephone numbers, present place of employment, work

               telephone numbers, job titles, and present whereabouts of any and all persons

               having knowledge regarding said incidents.

29. Please identify any and all other similar incidents and allegations for which a visitor or

   employee has filed a lawsuit against the Defendant and related to injuries suffered at the

   subject property, occurring in the last four (4) years.

30. Please identify any and all other similar incidents and allegations for which a visitor or

   employee has filed an insurance claim against the Defendant and related to injuries suffered

   by visitors or employees at the subject property, occurring in the last five (5) years.

31. Please identify any and all other similar incidents and allegations for which you have

   prepared an incident report concerning a visitor or employee who has been injured at the

   subject property, occurring in the last five (5) years.

32. Identify any and all incident reports, memos, diary notes, investigation reports, safety

   committee meeting minutes and/or other documentary writings made by Defendant TJX aka

   Marshalls and HomeGoods concerning the incident at issue.

33. Please identify each and every document utilized by Defendant TJX / Marshalls and

   HomeGoods, including but not limited to, manuals, handbooks, written procedures, and/or

   training videos, that relates to any policy, procedure, custom and/or practice for the

   discovery, identification, repair, service, maintenance and/or warning of hazardous or

   dangerous conditions at the subject property in effect on 25 January 2020.




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34. Please identify and describe any actions that you had undertaken to warn or to protect

   individuals, invitees, or licensees from dangerous and/or hazardous conditions that may have

   been present on the shelves of the subject property, such as, but not limited to, oral or written

   warnings, '‘caution signs/* or barriers.

35. Did any of Defendant TJX / Marshalls and HomeGoods’s employees, agents and/or

   management make an inspection for any hazard or dangerous condition of the area of the

   subject property where the incident alleged in the Plaintiffs' Complaint prior to or after the

   subject incident? If so, please identify the full name of the person who conducted the

   inspection, present or last known residence address, present or last known employment or

   business address (including the name of the business and the position held), and the present

   and last known business and residence telephone numbers of each person identified. In

   addition, please identify the type of inspection, the date and time of the inspection, the

   infonnation obtained based on the inspection, any documents related to the inspection, and

   any action taken in response to the information gained during the inspection.

36. Please state whether there existed, prior to the incident which is the subject of the Plaintiffs

   Complaint, any procedure or program for regular inspection of the subject property by

   Defendant TJX / Marshalls and HomeGoods, its employees or agents, or someone acting on

   its behalf, which such procedure or program was designed to identify and/or discover and

   remove potential safety hazards to the users of the premises thereof. If so:

37. Provide a general description of each such procedure or program, including the identity of

   each person charged with the responsibility for implementing and conducting each such

   procedure or program;




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38. State the regularity with which each such procedure or program was to be implemented or

   conducted, if applicable;

39. State whether the procedure(s) or programs(s) were carried out on the date of the subject

   incident, and if so, the times when each was started and completed; and

40. Identify, with particularity, all documents relating to each such procedure or program

   conducted that day and their findings, who had to sign them, when each document was

   completed, and identify the person(s) to whom the document was submitted to.

41. Please identify and describe any and all changes to Defendant TJX / Marshalls and

   HomeGoods's inspection and maintenance procedures that have been made since the date of

   the incident that forms the basis of the Plaintiffs Complaint.

42. Please identify and describe any and all alterations and/or modifications to the area of the

   Marshalls and HomeGoods where the Plaintiff fell, which have occurred since the date of the

   incident that forms the basis of the Plaintiff s Complaint.

43. Please identify each and every policy, procedure, custom and/or practice for the assistance.

   and aftercare, of an injured invitee or licensee at the subject property.

44. If you contend that Wendy Ely was not the general manager of the Marshall's HomeGoods

   store at 1625 Bass Road, Macon, Georgia 31210, on 25 January 2020, please provide the

   correct name, last known address, and phone number of the individual who was the general

   manager of the store at the time.




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                        REQUEST FOR PRODUCTION OF DOCUMENTS

1. Please produce each and every document consulted, referred to and/or identified by you or

   others on your behalf in answering any of the Plaintiffs Requests for Admission and

   Interrogatories.

2. Please produce the following for every expert identified in your response to Interrogatory No.

    19:

          a. A current, updated copy of each expert's resume or CV;

          b. A list of his/her trial and deposition testimony during the last five (5) years;

          c. All billing records in this case, including up-to-date payment record;

          d. Each expert's entire file in this case, including, but not limited to, all materials

              reviewed and considered, correspondence and e-mails to and from lawyers and

              anyone else in this case;

          e. Any and all documents, e-mails, photographs, or other tangible things provided to

              each expert by Plaintiff or Plaintiffs counsel relating in any way to this case;

          f. Any and all documents, e-mails, photographs, or other tangible things which each

              expert has read, reviewed, utilized, relied upon, or otherwise used in preparing any

              report(s) in this case;

          g- Any and all reports, correspondence, documents, e-mails, invoices, photographs, or

             other tangible things prepared by each expert relating in any way to this case;

          h. Any and all documents, articles, publications, studies, statutes, codes, and/or other

              literature that each expert believes to be important to his/her opinions in this case;

              and,




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       i. Any and all documents, e-mails, photographs, or other tangible things in each

           expert's possession which relates in any way to this case.

       j. All correspondence sent to and/or received from the Plaintiff.

       k. Each and every document, tangible object, or other item of real, demonstrative or

           documentary evidence which provides any and all factual support for each defense

           asserted by you in your Answer to Plaintiff s Complaint.

3. Please produce each and every photograph, diagram, sketch, transparency, and/or drawing of

   any person, party, vehicle, scene, or any other object or thing which relates to the incident

   that is the subject of the Complaint in this action.

4. Please produce all security and/or surveillance videos made of the Marshalls and

   HomeGoods Store located at 1625 Bass Road, Macon, Georgia 31210, on the date of the

   subject incident.

5. Please produce any surveillance photographs, movies or videos made of the Plaintiff.

6. Each and every insurance agreement under which any person carrying on an insurance

   business may be liable to you to satisfy part or all of any judgment which may be entered in

   this action or to indemnify or reimburse you for any payments made to satisfy such

   judgment.

7. All documents relating to any controversy as to whether or not coverage is afforded to under

   any insurance agreements, including but not limited to any non-waiver agreements and

   reservation of rights letters.

8. Please produce any and all agreements between Defendant TJX / Marshalls and HomeGoods

   and any other individual or entity for inspection, maintenance and/or cleaning services at the




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   Marshalls and HomeGoods Store located at 1625 Bass Road, Macon, Georgia 31210, in the

   last four (4) years.

9. Please produce all documents you receive in response to any Non-Party Requests for

   Production of Documents in this action.

10. Please produce all documents you receive in response to any Subpoena for documents in this

   action.

11. Please produce each and every document comprising a report made by any person, firm,

   association or other entity (including insurance adjusters and management) that has

   conducted any investigation to determine any of the facts pertaining to any of the issues in

   this action.

12. Please produce each and every document relating to any written or recorded statement

   inquired about in Interrogatory No. 11 of the Plaintiffs First Continuing Interrogatories

   propounded to you.

13. All statements previously made by the Plaintiff concerning the subject matter of this action.

14. All documents that discuss, review, explain, outline, and/or define Defendant's procedure(s)

   for reporting, taking and/or filing incident reports, effective on the date of the subject

   incident.

15. All documents that discuss, review, explain, outline, and/or define Defendant's procedure(s)

   for reporting, taking and/or filing incident reports, effective after the date of the subject

   incident.

16. The safety policies, manuals, standards, guidelines, handbooks, memos and procedures

   effective on the date of the subject incident related to the Marshalls and HomeGoods Store

   located at located at 1625 Bass Road, Macon, Georgia 31210, including but not limited to




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   any references to procedures for inspection, cleaning and/or maintenance of the premises.

   including the area of the Plaintiffs fall.

17. The safety policies, manuals, standards, guidelines, handbooks, memos and procedures

   effective after the date of the subject incident related to the Marshalls and HomeGoods Store

   located at 1625 Bass Road, Macon, Georgia 31210, including but not limited to any

   references to procedures for inspection and/or maintenance of the premises, including the

   area of the incident alleged in the Plaintiffs Complaint.

18. Please produce an exact copy of all of your written rules, procedures, standards, guidelines.

   or policies relating to the discovery, identification, repair, and/or warning of hazards located

   on the premises of the subject property.

19. A blank copy of the incident report used by Defendant TJX / Marshalls and HomeGoods for

   documenting and reporting the Plaintiff s incident at the subject property on the date of the

   incident alleged in the Complaint.

20. A fully legible copy of the incident report completed by you and regarding the Plaintiff s

   incident at the subject property on the date of the incident alleged in the Complaint.

21. All written documents, notes, diaries, schedules, memos, minutes, computer documentation.

   etc., which evidence any inspections of the subject property for the one (1) year period

   preceding the date of the incident alleged in the Plaintiff s Complaint.

22. All written documents, notes, diaries, schedules, memos, minutes, computer documentation.

   etc., which evidence any inspections of the subject property for the one (1) year period

   following the date of the incident alleged in the Plaintiffs Complaint.




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23. AH written documents, notes, diaries, schedules, memos, minutes, computer documentation.

   etc., which evidence who was working at the time of the incident alleged in Plaintiff s

   Complaint.

24. Copies of all legal complaints filed against you in the last four (4) years concerning

   allegations of someone being injured at the subject property.

25. Copies of any and all letters, documents, incident reports, insurance claims, and/or emails

   concerning any allegation of an injury suffered at the subject property in the last four (4)

   years.

26. Copies of all documents exchanged with OSHA or any other regulatory agency in the last

   four (4) years concerning any complaints, allegations, incidents or investigations into

   allegations of someone being injured at the subject property.

27. Copies of all letters, documents, reports, invoices, service records and emails concerning

   incidents of injuries suffered on the subject property in the last four (4) years.

28. Copies of any depositions taken of any of your employees, experts, consultants, or witnesses

   in any case in the last four (4) years involving allegations of someone being injured at the

   subject property.

29. Copies of any and all letters, documents, incident reports, insurance claims, and/or emails

   concerning any allegation of a worker's compensation injury arising from an injury suffered

   at the subject property in the last four (4) years.

30. Please produce all technical bulletins or directives sent by you or posted at the subject

   property concerning safety issues in the last four (4) years.

31. Any and all documents that related to any firings, reprimands, suspensions, punishments,

   complaints, grievances, allegations, denials of any and all of your employees, or agents, who




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   allegedly, or actually, failed to inspect the subject area concerning Plaintiffs incident at your

   property on the date of the incident alleged in the Complaint.

32. Any and all warnings you contend you provided, either verbally or by signage, with respect

   to the area of the subject property prior to the Plaintiff s incident on the date of the incident

   alleged in the Complaint.

33. Please produce copies of any and all documents showing the names and number of hours

   worked of all employees of the subject Marshalls and HomeGoods Store who worked at any

   time on 25 January 2020.

34. A copy of all witness and employee statements gathered in conjunction with the incident

   report completed by you and regarding the Plaintiff s incident at the subject property on the

   date of the incident alleged in the Complaint.

35. Copies of any and all letters, documents, reports, invoices, service records and emails

   concerning any hazardous conditions at the subject property in the last four (4) years.

36. Please produce the full employment files for all individuals identified in your response to

   Interrogatory No. 20.

37. If the Defendant has withheld any document(s) under a claim of privilege, please provide a

   privilege log that specifically identifies each document by its name, date, author, recipient(s).

   and a detailed description for the reason it is being withheld from production.

    Respectfully Submitted, this 4th day of August 2021.

                                                      Is/JacobA. Weldon
SEXTON LAW FIRM, LLC.                                 JACOB A. WELDON, Bar No. 966930
 124 Atlanta Street                                   /s/ Jonathan P. Sexton
McDonough, GA 30253                                   JONATHAN P. SEXTON, Bar No. 636486
(770) 474-9335
jacob@sextonlawfirm.com
jsexton@sextonlawfirm.com




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                                                                                           CLERK OF STATE COURT
                                                                                       GWINNETT COUNTY, GEORGIA
                                                                                                  21-C-05767-S4
                                                                                              8/4/2021 11:29 AM
                                                                                            TIANA P. GARNER, CLERK

                     IN THE STATE COURT OF GWINNETT COUNTY
                                STATE OF GEORGIA

TRACIE VANDER YEN and                             )
DEREK VANDER YEN                                  )
                                                  )   21-C-05767-S4
      Plaintiff,                                  )
                                                  ) CIVIL FILE ACTION
vs.                                               ) NO.:
                                                  )
THE TJX COMPANIES, INC. d/b/a                     )
MARSHALLS and HOMEGOODS and                       )
WENDY ELY                                         )
                                                  )
       Defendant.                                 )

                   PLAINTIFF’S FIRST REQUESTS FOR ADMISSIONS TO
                        DEFENDANT THE TJX COMPANIES. INC.

       COMES NOW, Plaintiffs, Tracie and Derek Vander Yen (hereinafter referred to as

“Plaintiffs) and hereby requests that Defendant THE TJX COMPANIES, INC. (hereinafter.

“TJX”, “Marshalls”, and/or “Defendant”) admit for the purpose of this action the truth of the

following facts within the time prescribed by law following the date of service hereto and in

conformity with O.C.G.A. § 9-l 1-36.

                                       INSTRUCTIONS

       [1]     If any request cannot be truthfully admitted or denied, please state in detail the

reasons why you cannot truthfully admit or deny the matter.

       [2]     If you cannot admit or deny the request in its entirety, please specify that part

which you cannot admit or deny and state in detail the reasons for any such qualifications.

       [3]     You may not give lack of information or knowledge as a reason for failure to

admit or deny Requests to Admit, unless you state that you have made a reasonable inquiry and

that the information known or readily obtainable is insufficient to enable you to answer.
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         [4]     The Plaintiff further advises you that if you fail to admit the truth of any matter as

requested in the Requests for Admissions, and if the Plaintiff thereafter proves the truth of the

matter, the Plaintiff will apply to the Court for an Order requiring you to pay the reasonable

expenses incurred in making that proof, including reasonable attorney's fees.

                                  REQUESTS FOR ADMISSION

1.       Please admit that on the date of the incident alleged in the Plaintiff s Complaint, you

were the owner of the Marshalls & HomeGoods store located at 1625 Bass Rd, Macon, GA

31210.

2.       Please admit that on the date of the incident alleged in the Plaintiff s Complaint, you

operated and/or managed the Marshalls & HomeGoods store located at 1625 Bass Rd, Macon,

GA 31210.

3.       Please admit that the TJX Companies, Inc. is the correct entity named in this suit.

4.       Please admit that Wendy Ely was the general manager of the store on 25 January 2020.

5.       Please admit that the Plaintiff was injured within the Marshalls & HomeGoods store

located at 1625 Bass Rd, Macon, Georgia on the date of the incident alleged in the Plaintiffs

Complaint.

6.       Please admit that at the time of the Plaintiffs fall on the date of the incident alleged in the

Complaint, the Plaintiff was an invitee on the subject premises of the Defendant.

7.       Please admit that the Plaintiff was injured due to a hazardous condition that existed on

the subject premises at the time of the incident alleged in Plaintiffs Complaint.

8.       Please admit that a hazardous condition existed on the subject premises in the area of the

Plaintiffs incident on the date of the incident alleged in the Plaintiffs Complaint.




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         [4]    The Plaintiff further advises you that if you fail to admit the truth of any matter as

requested in the Requests for Admissions, and if the Plaintiff thereafter proves the truth of the

matter, the Plaintiff will apply to the Court for an Order requiring you to pay the reasonable

expenses incurred in making that proof, including reasonable attorney's fees.

                                  REQUESTS FOR ADMISSION

1.       Please admit that on the date of the incident alleged in the Plaintiffs Complaint, you

were the owner of the Marshalls & HomeGoods store located at 1625 Bass Rd, Macon, GA

31210.

2.       Please admit that on the date of the incident alleged in the Plaintiffs Complaint, you

operated and/or managed the Marshalls & HomeGoods store located at 1625 Bass Rd, Macon,

GA 31210.

3.       Please admit that the TJX Companies, Inc. is the correct entity named in this suit.

4.       Please admit that Wendy Ely was the general manager of the store on 25 January 2020.

5.       Please admit that the Plaintiff was injured within the Marshalls & HomeGoods store

located at 1625 Bass Rd, Macon, Georgia on the date of the incident alleged in the Plaintiffs

Complaint.

6.       Please admit that at the time of the Plaintiff s fall on the date of the incident alleged in the

Complaint, the Plaintiff was an invitee on the subject premises of the Defendant.

7.       Please admit that the Plaintiff was injured due to a hazardous condition that existed on

the subject premises at the time of the incident alleged in Plaintiffs Complaint.

8.       Please admit that a hazardous condition existed on the subject premises in the area of the

Plaintiffs incident on the date of the incident alleged in the Plaintiffs Complaint.




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9.     Please admit that the Defendant TJX, by and through its employees at the subject

property were under a duty to mitigate potential injuries that could occur as a result of the

condition that existed at the time of the Plaintiffs fall.

10.     Please admit that Defendant TJX, by and through its employees at the subject location,

had actual knowledge of the hazardous condition that caused the Plaintiff to fall.

11.     Please admit that Defendant TJX, by and through its employees at the subject location,

had constructive knowledge of the hazardous condition that caused the Plaintiff to fall.

12.     Please admit that the Plaintiff was injured in an area used by invitees of the Defendant.

13.     Please admit that on the date of the incident alleged in the Complaint, the area where the

Plaintiff fell was included within a designated area for inspection by employees of the Defendant

TJX.

 14.    Please admit that on the date of the incident alleged in the Complaint, Defendant’s

employees had actual knowledge of the potential for the hazardous condition that existed in the

area where the Plaintiff was injured at the subject property prior to the incident.

 15.    Please admit that on the date of the incident alleged in the Complaint, Defendant’s

 employees had constructive knowledge of the potential for such hazardous conditions existed in

 the area where the Plaintiff was injured at the subject property.

 16.    Please admit that the Defendant did not exercise ordinary care in keeping its premises and

 approaches safe.

 17.     Please admit that there were no signs or warnings posted in the area where the Plaintiff

 slipped, fell, and was injured.

 18.     Please admit that no TJX employees warned Plaintiff of the hazard prior to her fall.




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19.     Please admit that Plaintiff had no knowledge of the hazardous condition that caused the

Plaintiff to slip and fall.

20.     Please admit that at least one member of the Defendant's staff observed the Plaintiff after

the incident alleged in the Plaintiffs Complaint.

21.     Please admit that at least one member of Defendant’s Staff observed Plaintiff s fall.

22.     Please admit that there were numerous employees of the Defendant TJX in a position

capable of observing the location of the hazardous condition that existed at the time of Plaintiffs

fall.

23.     Please admit that there were numerous employees of the Defendant TJX on the same

aisle or in view of the location where Plaintiff fell consistently for at least 20 minutes prior to

Plaintiffs fall.

24.      Please admit that, immediately following the fall, the Plaintiff complained of having been

injured as a result of the slip and fall on the premises.

25.      Please admit that the Plaintiff was injured as a result of slipping and falling at the subject

premises.

26.      Please admit that, on the date of the incident alleged in the Complaint, Defendant TJX

had written policies, procedures and/or guidelines for inspecting and maintaining the subject

property.

27.      Please admit that, after the occurrence of the incident alleged in the Complaint,

Defendant did not follow proper protocol, pursuant to Defendant's policies, in investigating the

cause of Plaintiff s injuries.

28.      Please admit that this court has personal jurisdiction over the Defendant for this lawsuit.

 29.     Please admit that venue for this action is proper as alleged in the Complaint.




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30.     Please admit that service of process on Defendant was proper.

31.     Please admit that you Defendant TJX is in receipt of an anti-spoliation letter regarding

this incident.

32.     Please admit that Defendant Wendy Ely was an employee of Defendant TJX on the date

of the incident.

33.     Please admit that Defendant Wendy Ely was the acting store manager of the subject store

on the date of the incident.

34.     Please admit that Defendant Wendy Ely had a duty to maintain the premises in a safe

manner.

35.     Please admit that Defendant Wendy Ely had a duty, either herself or through other

employees, to inspect the premises for dangerous conditions.

36.     Please admit on the date of the incident, you had devices which captured photos or video

of the area in which the Plaintiff was injured.

37.     Please admit that your cameras captured the alleged incident.

38.     Please admit that your cameras captured the moment in which the dangerous condition

was created.

39.     Please admit that you have security personnel in place to monitor these cameras.

40.     Please admit that nothing was done to correct the dangerous condition during the 15-

minutes or more that the condition existed prior to Plaintiffs slip and fall.

41.     Please admit that your employees were present on the same aisle in close proximity to the

dangerous condition after it existed and prior to Plaintiffs fall.




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    Respectfully Submitted, this 4th day of August 2021.

                                                  Is/Jacoh A. Weldon
 SEXTON LAW FIRM, LLC.                            JACOB A. WELDON, Bar No. 966930
 124 Atlanta Street                               /s/ Jonathan P. Sexton
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